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                                                 United States Bankruptcy Court
                                                  Western District of Wisconsin

IN RE: Patrick A. Miesbauer and Amy L. Miesbauer                                                Case No. 16-10057
                                                                                                Chapter    13
                                           Debtor(s)

                                                MODIFIED CHAPTER 13 PLAN
                                        [ ] Original [X] Modified Date:     August 7, 2017           .

YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully and discuss them with your attorney. Anyone who
wishes to oppose any provision of this plan or any motion included below must file a timely written objection. This plan may be
confirmed and the motions included below may be granted without further notice or hearing unless written objection is filed before the
deadline stated on the separate Notice you should have received from the bankruptcy court. If you have a secured claim, this is notice
that your lien may be voided or modified if you do not object to this plan.

THIS PLAN DOES NOT ALLOW CLAIMS. You must file a proof of claim to be paid under any plan that may be confirmed.

1. PAYMENT AND LENGTH OF PLAN

     (a) Debtors have paid $20,160.00 to the trustee thus far. Beginning August 2017, Debtors shall decrease plan payments to
          $1,170.00 per month, as debtors have had an increase in monthly medical expenses. Beginning March 11, 2018, Debtors shall
          increase plan payments to $1,208.96 per month until all approved Administrative, Priority & Secured claims are paid, or for
          the remainder of a 46 month plan, whichever occurs first. This is because Debtor’s 401(k) loan will be paid in full in
          February 2018. The plan will be extended as needed until all approved Administrative, Priority & Secured claims are paid in
          full.
     (b)
     [ ] Debtor will pay directly to the trustee
     [X] A semi-monthly payroll deduction order will issue to the Co-Debtor's employer.

                  Park Manor, LTD.
                  250 Lawrence Avenue
                  Park Falls, WI 54552

(b) Total amount to be paid to Trustee shall be not less than $53,500.00.

2. PRIORITY CLAIMS (INCLUDING ADMINISTRATIVE EXPENSES AND SUPPORT)
All allowed priority claims will be paid in full unless creditor agrees otherwise:
Creditor                                                                          Type of Priority                           Scheduled Amount
Reed Peterson & Associates                                                        Attorney fee                                    $2,400.00
IRS                                                                               Taxes                                             $400.41

3. UNSECURED CLAIMS
Not Separately Classified. Allowed non-priority unsecured claims shall be paid:
    [ ] Not less than $                to be distributed pro rata.
    [ ] Not less than 00.00 percent.
    [X] Other:       pro rata                                            .

Debtors shall continue paying Debtor’s 401k loan as a payroll deduction. Co-debtor shall continue paying co-debtor’s wage advance
as a payroll deduction.

4. CURING DEFAULT AND MAINTAINING PAYMENTS
(a) Trustee shall pay the following allowed claims for pre-petition arrearages, and Debtor shall pay regular post-petition contract
payments to these creditors:
                                                                                  Estimated              Interest Rate         Monthly
Creditor                            Collateral or Type of Debt                    Arrearage               (arrearage)      Mortgage Payment
Nationstar Mortgage LLC             Residence – First Mortgage                    $13,041.34                       0            $789.35
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(b) Trustee shall pay the following allowed claims for post-petition arrearages to these creditors:
Creditor                            Collateral or Type of Debt                     Estimated          Interest Rate
                                                                                   Arrearage           (arrearage)
Nationstar Mortgage LLC             Residence – First Mortgage                    $2,492.59                   0

(c) The following secured debts shall be paid through the plan:

Creditor                            Amount owed       Interest           Mo. Pmt.
First National Bank                 $27,567.68        5.0%               $801.89

Payments shall first be applied towards the current monthly principal and interest payment. Amounts paid to the Creditor by the
Trustee that exceed the monthly principal and interest payment shall be applied towards principal to reduce the principal balance.
Payments shall be applied within a day of receipt by the Creditor.*

(c) STRIPPING OF SECOND LIEN ON RESIDENCE
Debtors will file an adversary proceeding to have the lien of USDA Rural Development treated as an unsecured debt.

5. OTHER PROVISIONS
(a) Lien Retention. Except as provided above in Section 4, allowed secured claim holders retain liens until:
    [ ] Liens are released at discharge.
    [X] Liens are released upon payment of allowed secured claim as provided above in Section .
    [ ] Liens are released upon completion of all payments under the plan.
(b) Vesting of Property of the Estate. Property of the estate shall revest in Debtor:
    [X] Upon confirmation
    [ ] Upon discharge
    [ ] Other:                                                                        .
(c) Payment Notices. Creditors and lessors provided for above in Section 4 shall continue to mail customary notices or coupons to
the Debtor or Trustee notwithstanding the automatic stay.
(d) Order of Distribution. Trustee shall pay allowed claims in the following order:
    Trustee Commissions
    Other Administrative Claims
    Priority Claims
    Secured Claims
    General Unsecured Claims

Dated: August 7, 2017.

/s/ Reed J. Peterson
Reed J. Peterson, Attorney for Debtor(s)
